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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      )
                                              )
       Plaintiff,                             )
                                              )
       v.                                     )       Case No. 1:20-cv-1580-RCL
                                              )
JOHN R. BOLTON,                               )
                                              )
       Defendant.                             )
                                              )


                        NOTICE OF WITHDRAWAL OF COUNSEL

       Undersigned counsel, Jennifer B. Dickey, hereby withdraws her appearance on behalf of

Plaintiff in the above-captioned case. Ms. Dickey is leaving the Department of Justice on

January 15, 2021, and will no longer have responsibility for this case. Plaintiff will continue to

be represented by other attorneys at the Department of Justice whose names appear in the

Government’s pleading sand briefs in this matter.



Dated: January 11, 2021                       Respectfully submitted,

                                              JEFFREY BOSSERT CLARK
                                              Acting Assistant Attorney General

                                              MICHAEL SHERWIN
                                              Acting United States Attorney

                                              ALEXANDER K. HAAS
                                              Director
                                              Federal Programs Branch

                                              /s/ Jennifer B. Dickey

                                              Jennifer B. Dickey (D.C. Bar No. 1017247)
                                              Principal Deputy Assistant Attorney General
                                              United States Department of Justice
                                              Civil Division
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